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YOULIN YUAN
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                                          December 31, 2024
 Via ECF

 Honorable Leda D. Wettre
 United States Magistrate Judge
 USDC District of New Jersey
 Martin Luther King Building & U.S. Courthouse
 50 Walnut Street
 Newark, NJ 07102

          Re:    Withdrawal as Counsel for Non-Party Google LLC in United States, et al. v.
                 Apple Inc., Civil Action No. 2:24-cv-04055-JXN-LDW

 Dear Judge Wettre:

         Pursuant to Local Civil Rules 101.1(c)(5) and 102.1, I write to respectfully request that
 the Court approve my withdrawal as pro hac vice counsel to Google LLC (“Google”), as I am
 departing the law firm of Williams & Connolly LLP. My withdrawal will not result in any
 delay, as Google will continue to be represented by Williams & Connolly LLP and Wilson
 Sonsini Goodrich & Rosati.

         Accordingly, I respectfully request permission to withdraw as pro hac vice counsel for
 Google in this matter and for removal from the Court’s service list for all CM/ECF notices. I
 thank the Court for its time and attention to this matter.

                                                       Respectfully Submitted,

                                                       /s/ Youlin Yuan

                                                       Youlin Yuan


 CC:      All Counsel of Record via ECF
